        Case 1:09-cv-00454-RMU Document 8 Filed 03/30/09 Page 1 of 5

                                  UNITED STATES DISTRICT COURT
                                     FOR THE District of Columbia
                                          U.S. Clerk's Office


TRACEY AMBEAU HANSON, et al.
                                                 Plaintiff,
v.                                                                    Case No.: 1:09−cv−00454−RMU
                                                                      Judge Ricardo M. Urbina
DISTRICT OF COLUMBIA, et al.
                                                 Defendant.


                                                                              1
                               STANDING ORDER FOR CIVIL CASES

                 READ THIS ORDER CAREFULLY. IT CONTROLS THIS CASE.

      It is the responsibility of both the attorneys and the court to secure the just, speedy, and inexpensive
determination of every action in federal court. Fed. R. Civ. P. 1. To ensure that this case is resolved fairly
and without undue cost or delay, the court directs all counsel to familiarize themselves with the Federal
Rules of Civil Procedure
                     2
                           (particularly Federal Rules of Civil Procedure 16 and 26) and the Local Civil
Rules of this court.

   In order to administer this case in a manner consistent with the highest quality of justice, it is
ORDERED that the parties comply with the following requirements:

1.    SERVICE OF COMPLAINT & STANDING ORDER; REMOVED ACTIONS
      The plaintiff must promptly serve the complaint on the defendant in accordance with Federal Rule
      of Civil Procedure 4, file proof of service in accordance with Local Civil Rule 5.3, and ensure that
      all parties receive a copy of this standing order. A defendant removing an action to this court must
      refile as a supplement to the petition any answer or renotice any pending motion, and promptly
      ensure that all parties receive a copy of this standing order.

2.    GUIDELINES FOR SUBMISSIONS
      The parties must ensure that motions and related submissions comply with Local Civil Rule 7. A
      party filing or opposing a motion must include a proposed order setting forth the relief or action
      sought. Pursuant to Local Civil Rules 7(h) and 56.1, a party filing a motion for summary judgment
      must include a statement of undisputed material facts, and a party filing an opposition thereto must
      include a statement of disputed material facts. With regard to format, submissions should be
      double−spaced, in 12−point Times Roman or Courier font, with page numbers and margins of no
      less than 1 inch. All citations must include exact page references (pincites). Memoranda of points
      and authorities in support of and in opposition to motions may not exceed 45 pages, and replies
      may not exceed 25 pages.
                                                     3
3.    COURTESY COPIES FOR CHAMBERS
      Although the court generally does not accept courtesy copies, the parties must provide the court
      with a courtesy copy of a submission that:

       a.   is more than 15 pages;
       b.   includes exhibits or attachments totaling more than 5 pages;
       c.   relates to applications for a preliminary injunction or temporary restraining order; or
                                                                               4
       d.   relates to matters set for hearing within the next 7 business days. Before delivering the
            courtesy copy to chambers, parties should file the original submission and, for
            submissions relating to matters set for hearing, indicate the hearing date on the courtesy
            copy and the delivery envelope.


4.    COMMUNICATIONS WITH CHAMBERS
      Except as authorized in this order, the parties may not contact chambers by telephone. If
      extraordinary circumstances or emergencies require it, however, counsel should contact chambers
      Case 1:09-cv-00454-RMU Document 8 Filed 03/30/09 Page 2 of 5

     jointly via conference call to avoid ex parte communications. Chambers may not provide legal
     advice of any kind.

5.   MOTIONS FOR EXTENSION OF TIME
     Because the parties should work within the time frames set by court order, the court strongly
     discourages the filing of motions for extension of time. When good cause is present, however, the
     court will consider motions for extension of time that:

     a.     are filed at least 4 business days prior to the deadline the motion is seeking to extend;
            and
     b.     include:
              i.    the number of previous extensions of time granted;
              ii.   the good cause supporting the motion;
              iii. a statement of the effect that the granting of the motion will have on existing
                    deadlines;
              iv. for a motion that seeks to extend the deadline for a dispositive motion,
                    suggested deadlines (reached in consultation with the opposing party) for the
                    filing of the opposition and reply; and
              v.    a statement of the opposing partys position on the motion.


6.   MOTIONS TO RESCHEDULE A HEARING
     Because the parties should work within the time frames set by court order, the court also strongly
     discourages the filing of motions to reschedule a hearing. When good cause is present, however,
     the court will consider a motion to reschedule that:

     a.  states the good cause supporting the motion;
     b.  states the opposing partys position on the motion;
     c.  suggest 4 alternative dates and times that are convenient to both parties; and
     d.  are filed at least 2 business days prior to the hearing. If unforeseeable circumstances
         prevent a timely filing, the moving party will detail those circumstances explaining why
         the motion is filed out of time.
7.   INITIAL STATUS CONFERENCE & SCHEDULING ORDER
     The court will schedule an initial status conference after all defendants have answered the
     complaint. At the initial status conference, the court will issue a scheduling order pursuant to
     Federal Rule of Civil Procedure 16(b) and Local Civil Rule 16.4.
                                                                         5
8.   DUTY TO CONFER; LOCAL CIVIL RULE 16.3 REPORT
     Pursuant to Federal Rule of Civil Procedure 26(f) and Local Civil Rule 16.3(a), the parties must
     confer at least 21 days before the initial status conference. The parties must file the report required
     by Local Civil Rule 16.3(d) at least 7 days before the initial status conference. Prior to addressing
     the matters listed in Local Civil Rule 16.3(c), the report should provide a one−paragraph statement
     of the case that describes the nature of the case, the identities of the parties, and the statutory basis
     of the courts jurisdiction for all causes of action and defenses.

9.   DISCOVERY DISPUTES
     The court expects the parties to follow the requirements of Federal Rule of Civil Procedure 26 and
     Local Civil Rule 26.2. Before bringing a discovery dispute to the courts attention, the parties must
     confer in good faith in an attempt to resolve the dispute informally. If, in what should be the
     unusual case, the parties are unable to resolve the dispute, they shall contact chambers to arrange
     for a telephone conference with the court. Before filing a motion relating to a discovery dispute, a
     party must obtain leave of the court. The court warns the parties that failure to follow these
     requirements will result in sanctions. Moreover, if the court is called upon to resolve a
     discovery−related motion, it will sanction the losing attorney (not the principal) pursuant to Federal
     Rule of Civil Procedure 37(a)(4).

10   SETTLEMENT
     The court expects the parties to evaluate their case for purposes of settlement and take steps
     accordingly. Toward that end, the parties may contact chambers to request mediation (via a
     magistrate judge, a private mediator, or the courts mediation program), arbitration, early neutral
           Case 1:09-cv-00454-RMU Document 8 Filed 03/30/09 Page 3 of 5

      evaluation, summary jury trial, or6
                                          any other form of alternative dispute resolution that may be
      tailored to the needs of the case. If the case settles in whole or in part, the plaintiffs counsel must
      promptly alert the court by telephone.

11.   JOINT PRETRIAL STATEMENT
      Pursuant to Local Civil Rule 16.5(a) and (d)(5), the parties must file with the court a Joint Pretrial
      Statement at least 10 business days before the pretrial conference. In accordance with Local Civil
      Rule 16.5(b), the Joint Pretrial Statement must include:

      a.     a one−paragraph joint statement of the case that describes the nature of the case, the
             identities of the parties, and the statutory basis of the courts jurisdiction for all causes of
             action and defenses;
      b.     a statement of claims setting forth each claim a party has against any other party;
      c.     a statement of defenses setting forth each defense raised by a party to a claim asserted
             against it;
      d.     a list of witnesses (including expert and rebuttal witnesses) to be called by each party,
             accompanied by a brief description of each witness expected testimony, followed by
             specific objections (if any) to each witness;
      e.     a list of exhibits, followed by numbered copies of the exhibits, that each party intends to
             offer during trial (except that if the total number of pages exceeds 25, the parties should
             submit the exhibits in a separate binder);
      f.     a designation of depositions or portions thereof, identified by page and line number, to
             be offered in evidence by each party;
      g.     an itemization of damages setting forth each element of damages and the monetary
             amount thereof (including prejudgment interest, punitive damages, and attorneys fees)
             sought; and
      h.     a description of other relief sought by each party

      In jury cases, the parties also must submit:

      a.     proposed voir dire questions that indicate:
                i.   the voir dire questions on which the parties agree; and
                ii.  the voir dire questions on which the parties disagree, with specific
                     objections noted below each disputed question and supporting legal
                     authority (if any);

      b.     a list of proposed jury instructions, followed by the text of each proposed instruction,
             that indicates:
                 i.     the instructions on which the parties agree;
                 ii.    the instructions on which the parties disagree, with specific objections noted
                        below each disputed instruction and supporting legal authority (if any); and
                 iii. the proposed instructions source (e.g., Standardized Civil Jury Instructions
                        for the District of Columbia) or, for modified or new instructions, their
                        supporting legal authority;

      c.     any motions in limine, with citations to legal authority, that the parties reasonably
             anticipate will arise at trial, accompanied by any oppositions and replies thereto;
      d.     any stipulations, signed by each party; and
      e.     a proposed verdict form, as well as proposed special interrogatories (if any), that
             includes a date and signature line for the jury foreperson.

      The parties must submit to chambers a courtesy copy of the Joint Pretrial Statement.
                                                                                     7
                                                                                               With regard
      to format, the Joint Pretrial Statement should be double−spaced, in 14−point Times Roman font,
      preferably in WordPerfect, with margins of no less than 1 inch. The jury instructions section should
      be formatted so that each individual jury instruction begins on a new page. Finally, the courtesy
      copy should be three−hole punched, with each section separated by labeled tab dividers. The court
      expects the parties to visit the courts website or chambers to view a Joint Pretrial Statement
      exemplar.
           Case 1:09-cv-00454-RMU Document 8 Filed 03/30/09 Page 4 of 5

12.   MOTIONS IN LIMINE
      The court will entertain late motions for which there is a compelling explanation only if filed at
      least 8 business days prior to the date set for jury selection. Oppositions to late motions must be
      filed at least 5 business days prior to jury selection, and replies must be filed at least 4 business
      days prior to jury selection. The court will not consider motions in limine that relitigate issues
      already resolved by the court.

13.   TRIAL PROCEDURES
      The following rules are intended to ensure that the trial proceeds with efficiency, dignity, and
      congeniality.

      a.     Schedule: Unless the parties are otherwise notified, the court will convene the jury
             portion of the trial from 10:00 a.m. to 12:30 p.m. and 1:45 p.m. to 4:30 p.m., Monday
             through Friday. The parties must be in the courtroom at least 5 minutes before court is
             scheduled to begin or resume.
      b.     General Courtroom Rules: The court expects the parties to exercise civility at all times.
              Unless leave is otherwise granted, counsel shall
                 i.   examine witnesses or address the jury from the lectern;
                 ii.  obtain permission before approaching a hostile or adverse witness;
                 iii. stand when raising objections;
                 iv. remain seated when the jury is entering or leaving the courtroom;
                 v.   remain in the courtroom once court is in session;
                 vi. direct all statements to the court rather than to the opposing party; and
                 vii. refer to all witnesses as Mr. or Ms. rather than first name or nickname.

      c.     Voir Dire: The court will conduct voir dire based on the proposed voir dire questions
             submitted by the parties, and, where warranted, will allow the parties to ask additional
             questions of propective jurors at the bench.
      d.     Technical Equipment: Parties who would like to use technical equipment (e.g., overhead
             projectors, video display monitors) must contact the Courtroom Technology
             Administrator of the Clerks office at (202) 354−3019.
      e.     Motions or Objections During Trial: With regard to motions to be resolved on the
             following trial day, the parties must submit motions to the court (by fax transmission to
             (202) 354−3392 or by hand−delivery) and the opposing party by no later than 7:00 a.m.
             on the trial day. The opposing party must submit its response (if any) to the court and
             the moving party by no later than 7:45 a.m. on the same day. With regard to objections,
             the parties must state clearly and succinctly the legal basis for the objections. To protect
             the record for appellate review, a party may explain or amplify its objections on the
             record after the jury has been excused. Parties should not request bench conferences in
             lieu of filing motions or raising objections. If a party plans to engage in a line of inquiry
             that requires judicial pre−approval, however, the party may seek a bench conference.
      f.     Sua Sponte Jury Instructions: If events during trial necessitate the immediate giving of a
             sua sponte jury instruction, the party requesting the instruction must provide the court
             with the text of the proposed instruction or else the court will consider the request
             waived. If a party would like the instruction included in the courts final instructions to
             the jury, that party bears the responsibility of making such a request to the court by no
             later than 4:00 p.m. on the day prior to the day on which the court will give the final
             instructions.
      g.     Witnesses: A party calling a witness must arrange for the witness presence until
             cross−examination is completed. Failure to have a witness present for
             cross−examination is grounds for striking the witness testimony. Except in
             extraordinary circumstances, the court will not recess simply because a witness is
             unavailable. The court will endeavor to accommodate out−of−town and expert
             witnesses if counsel alerts the court ahead of time. Additionally, parties are advised to
             avoid eliciting witnesses' personal identifiers such as social security numbers,
             financial account information, names of minor children, dates of birth and home
             addresses. If such information inadvertently becomes part of the record, the parties
             may request redaction of such items.
      h.     Exhibits: Parties who plan to tender exhibits must provide an exhibit list to the
             courtroom deputy. Exhibits should be marked by number (1, 2, 3); groups of exhibits
       Case 1:09-cv-00454-RMU Document 8 Filed 03/30/09 Page 5 of 5

           should be marked by number and letter (1A, 1B, \1C).

14.   MOTIONS TO ALTER OR AMEND JUDGMENT
      Motions to alter or amend judgment (commonly known as motions for reconsideration) and
      oppositions thereto may not exceed 10 pages. Replies, if any, may not exceed 4 pages. Motions for
      reconsideration are not opportunities to take a second bite at the apple already rejected. If you file
      such a motion, be aware that a motion which simply seeks to relitigate already decided issues or
      raises issues for the first time which should have been advanced in the original motion will be
      considered a submission in violation of this order. Consequently, the court may impose sanctions
      against the offending attorney.



SO ORDERED.

                                                                                 RICARDO M. URBINA
                                                                                United States District Judge

       1    Revised December 18, 2008. This order is available at
            www.dcd.uscourts.gov/RMUrbina−page.html.
       2    The Local Civil Rules are available at www.dcd.uscourts.gov/rules.html.
       3    This paragraph does not apply to in camera submissions.
       4    A "business day" is any day that is not a Saturday, Sunday, or "legal holiday" as
            defined by Federal Rules of Civil Procedure 6(a). In all sealed cases, parties will
            deliver a courtesy copy to chambers of any submission on the day it is filed with the
            court. This will help the court avoid the delay in receiving notice of the sealed matter
            issue.
       5    Although the duty−to−confer and reporting requirements do not apply to cases
            exempted by Local Civil Rule 16.3(b), the court encourages parties in exempted cases
            to confer and submit a report where doing so would promote efficient case
            management.
       6    For more information about avenues for alternative dispute resolution, parties may
            contact the Director of Dispute Resolution for the United States Courts for the District
            of Columbia Circuit at (202) 216−7350.
       7    Motions in limine and stipulations may be in 12−point font.
